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                                       2
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                                       7
                                           Attorneys for Plaintiff
                                       8
                                       9                       IN THE UNITED STATES DISTRICT COURT
                                      10                             FOR THE DISTRICT OF ARIZONA
                                      11
7150 East Camelback Road, Suite 285




                                      12   Ronald H. Pratte,                               Case No. 2:19-cv-00239-PHX-GMS
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13                        Plaintiff,                 NOTICE OF SERVICE OF
                                                                                           PLAINTIFF’S MANDATORY
           (480) 421-1001




                                      14                                                   INITIAL DISCOVERY RESPONSES
                                           vs.
                                      15
                                           Jeffrey Bardwell and Fanny F. Bardwell,
                                      16   husband and wife,
                                      17                        Defendants.
                                      18
                                      19          Plaintiff Ronald H. Pratte, by and through his attorneys of record, hereby provides

                                      20   Notice of Service to the court of Plaintiff’s Mandatory Initial Discovery Responses.

                                      21
                                      22          DATED this 25th day of April, 2019

                                      23
                                                                                 KERCSMAR & FELTUS PLLC
                                      24
                                      25                                     By: s/ Zach Fort
                                                                                 Gregory B. Collins
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                                                                                 Zach R. Fort
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                                      28                                         Attorneys for Plaintiff

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                                              Case 2:19-cv-00239-GMS Document 16 Filed 04/25/19 Page 2 of 2



                                       1
                                       2                          CERTIFICATE OF SERVICE

                                       3        I certify that on April 25, 2019, I electronically transmitted the foregoing to the
                                           Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of
                                       4   Electronic Filing to the following:
                                       5
                                       6   Thomas M. Connelly
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                                      15   Attorneys for Defendants
                                      16
                                      17   s/ Mary Ann Bautista

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